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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

                                          )
 AGATON GODWIN,                           ) Civ. No. 13-00014 JMS-BMK
                                          )
              Plaintiff,                  )
       v.                                 ) ORDER OF STIPULATION TO
                                          ) DISMISS
                                          )
 STATE WIDE COLLECTIONS,                  )
                                          )
                                          )
              Defendant.


              Based upon the Stipulation to Dismiss by all appearing parties, and

 pursuant to Fed. R. Civ. P. 41(a)(1), the above-reference matter is hereby

 dismissed with prejudice, both sides to bear their own fees and costs.




              IT IS SO ORDERED.

              Dated: Honolulu, Hawaii, April 30, 2013.




                                        /s/ J. Michael Seabright
                                        _____________________________
                                        J. Michael Seabright
                                        United States District Judge




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                                 STIPULATION TO DISMISS
